            Case 24-13275-amc                        Doc 29          Filed 01/28/25 Entered 01/28/25 12:04:37                                      Desc Main
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 Fill in this information to identify the case:

 Debtor name         Ron Fish Electrical Services, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF PENNSYLVANIA

 Case number (if known)           2:24-bk-13275
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

              No. Go to Part 2.

              Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim


 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           All Systems Go                                                        Contingent
           P.O. Box 5125                                                         Unliquidated
           Riverside, NJ 08075                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim: Other
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $808.73
           Amex                                                                  Contingent
           Correspondence/BankruptcyPo Box 981540                                Unliquidated
           El Paso, TX 79998                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim: Amazaon Business Prime Card
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $19,048.82
           Billow Electric Supply Company
                                                                                 Contingent
           c/o Law Offices of Gary M. Perkiss, P.C.801
                                                                                 Unliquidated
           Old York Road, Suite 313
           Jenkintown, PA 19046                                                  Disputed

           Date(s) debt was incurred                                         Basis for the claim: Other-Mechanic Lien Claim

           Last 4 digits of account number                                   Is the claim subject to offset?       No          Yes


 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $45,473.77
           Billow Electric Supply Company
                                                                                 Contingent
           c/o Law Offices of Gary Perkiss, P.C.801
                                                                                 Unliquidated
           Old York Road, Suite 313
           Jenkintown, PA 19046                                                  Disputed

           Date(s) debt was incurred                                         Basis for the claim: Other-Mechanics Lien Claim

           Last 4 digits of account number                                   Is the claim subject to offset?       No          Yes




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              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,322.46
          Billow Electric Supply Company
                                                                                 Contingent
          c/o Law Offices of Gary M. Perkiss, P.C.801
                                                                                 Unliquidated
          Old York Road, Suite 313
          Jenkintown, PA 19046                                                   Disputed

          Date(s) debt was incurred                                          Basis for the claim: Other-Mechanic Lien Claim

          Last 4 digits of account number                                    Is the claim subject to offset?       No          Yes


 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Billows Electric Supply                                                Contingent
          3929 G Street                                                          Unliquidated
          Philadelphia, PA 19124                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Other
          Last 4 digits of account number 4242
                                                                             Is the claim subject to offset?       No          Yes


 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,679.76
          Billows Electric Supply Co.
                                                                                 Contingent
          c/o Law Offices of Gary M. Perkiss, P.C.801
                                                                                 Unliquidated
          Old York Road, Suite 313
          Jenkintown, PA 19046                                                   Disputed

          Date(s) debt was incurred                                          Basis for the claim: Other-Mechanics Lien Claim

          Last 4 digits of account number                                    Is the claim subject to offset?       No          Yes


 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,826.52
          Chase Card Sevices                                                     Contingent
          Po Box 15123                                                           Unliquidated
          Wilmington, DE 19850                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Credit
          Last 4 digits of account number 0545
                                                                             Is the claim subject to offset?       No          Yes


 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Corporate Electric                                                     Contingent
          315 Cranbury Half Acre Road                                            Unliquidated
          Cranbury, NJ 08512                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Other
          Last 4 digits of account number 1717
                                                                             Is the claim subject to offset?       No          Yes


 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Master Revenue                                                         Contingent
          525 Washington Blvd. Suite 2200                                        Unliquidated
          Jersey City, NJ 07310                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,741.56
          PNC Bank                                                               Contingent
          PO Box 3479                                                            Unliquidated
          Pittsburgh, PA 15230-3479                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Credit
          Last 4 digits of account number 7601
                                                                             Is the claim subject to offset?       No          Yes




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 3.12      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $2,102.83
           Sunoco Business Fleet                                                 Contingent
           PO Box 639                                                            Unliquidated
           Portland, ME 04104-0639                                               Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim: Other
           Last 4 digits of account number 2403
                                                                             Is the claim subject to offset?       No          Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

     If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5.    Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                             0.00
 5b. Total claims from Part 2                                                                            5b.   +    $                       103,004.45

 5c. Total of Parts 1 and 2
        Lines 5a + 5b = 5c.                                                                              5c.       $                           103,004.45




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